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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PITTS-CARTWRIGHT2015 OK 55Case Number: SCBD-6291Decided: 06/30/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 55, __ P.3d __

				


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION Complainant,
v.
BETTY ANN PITTS-CARTWRIGHT, Respondent.




ORDER APPROVING RESIGNATION 


¶1 On June 24,2015, the Oklahoma Bar Association (Bar Association), notified the Court that the respondent, Betty Ann Pitts-Carwright (Attorney/respondent), had resigned from the Oklahoma Bar Association pending disciplinary proceedings. The disciplinary proceedings relate to: failure to communicate with clients, failure to appear on behalf of clients, failure to file pleadings, misappropriation of client funds; fraud, and forgery.

¶2 THE COURT FINDS:



1. The respondent has voluntarily resigned from the Oklahoma Bar Association by complying with Rule 8.1 and Rule 8.2, Rules Governing Disciplinary Proceedings, 5 O.S. Supp. 2008 Ch. 1, App. 1-A. The respondent's affidavit of resignation reflects that: a) it was freely and voluntarily rendered; b) she was not subject to coercion or duress; and c) she was fully aware of the consequences of submitting the resignation.

2. The respondent states that she is aware of the seven grievances against her.

3. The respondent states in her affidavit of resignation that she is aware that the allegations of conduct, if proven, would be a violation of Rules 1.1, 1.3, 1.4, 1.5, 1.15, 1.16(d), 3.2, 5.3, and 8.4(a-c), of the Oklahoma Rules of Professional Conduct, 5 O.S. Supp. 2008, Ch. 1, App. 3-A and Rules 1.3 and 5.2 of the Rules Governing Disciplinary Proceedings, 5 O.S. Supp. 2008, Ch. 1, App. 1-A and of his oath as an attorney.

4. The respondent's resignation pending disciplinary proceedings is in compliance with all of the requirements set forth in Rule 8.1, Rules Governing Disciplinary Proceedings, 5 O.S. Supp. 2008, Ch. 1, App. 1-A and it should be approved.

5. The official roster address of the respondent as shown by the Oklahoma Bar Association is: Betty Ann Pitts-Cartwright, 306 S. Fifth Street, P.0. Box 1330, Jay, OK 74346.

6. The Bar Association has requested the imposition of costs in the amount of $538.77 and the respondent does not object to the imposition of costs. Costs are hereby granted and shall be due within 60 days due to hardship from the date this order is filed.



IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Betty Ann Pitts-Cartwright's resignation pending discipline be approved.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Betty Ann Pitts-Cartwright name be stricken from the roll of attorneys. Because resignation pending disciplinary proceedings is tantamount to disbarment, the respondent may not make an application for reinstatement prior to the expiration of 5 years from the date of this order. Pursuant to Rule 9.1, Rules Governing Disciplinary Proceedings, 5 O.S. Supp. 2008, Ch. 1, App. 1-A, the respondent shall notify all of her clients, if any, having legal business pending with her within 20 days, by certified mail, of her inability to represent them and of the necessity for promptly retaining new counsel. Costs of $538.77 are hereby granted and shall be due within 60 days due to hardship from the date this order is filed. Repayment to the Client Security Fund for any monies expended because of the malfeasance or nonfeasance of the respondent, shall be a condition of reinstatement.

DONE BY ORDER OF THE SUPREME COURT THIS 29th DAY OF JUNE 2015.

&nbsp;


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



&nbsp;





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